Case 1:21-cv-01456-GBW   Document 215   Filed 05/29/23   Page 1 of 84 PageID #: 7327




         EXHIBIT B
    Case 1:21-cv-01456-GBW               Document 215             Filed 05/29/23     Page 2 of 84 PageID #: 7328


Akiva Cohen

From:                              Akiva Cohen
Sent:                              Tuesday, December 6, 2022 9:29 PM
To:                                Geoffrey G. Grivner
Cc:                                Levine, James H.S.; Mike Dunford; Kathryn Tewson; Dylan Schmeyer; Deborah Gaynor;
                                   Patrick Keane; Kody M. Sparks; sbrauerman; Ronald Golden
Subject:                           Re: 408 Settlement Communication


Geoff,

We are OK with this. But I want to make sure that your clients are fully aware that Deirdre is functionally looking at
contributing nuisance value here, not anything particularly significant. If your clients are willing to engage on that basis,
then a stay to see if this can get resolved makes sense. If not, then we should just continue pushing forward and get this
finished.

Sent from my T-Mobile 5G Device
Get Outlook for Android

From: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent: Tuesday, December 6, 2022 8:06:46 PM
To: Akiva Cohen <acohen@kusklaw.com>
Cc: Levine, James H.S. <James.Levine@Troutman.com>; Mike Dunford <mdunford@kusklaw.com>; Kathryn Tewson
<ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>;
Patrick Keane <patrick.keane@bipc.com>; Kody M. Sparks <kody.sparks@bipc.com>; sbrauerman
<SBrauerman@bayardlaw.com>; Ronald Golden <rgolden@bayardlaw.com>
Subject: 408 Settlement Communication

Akiva/Steve,

I understand the parties are interested in discussing a resolution of this matter and that a withdraw of our Motion for
Clarification and related filings may be necessary to facilitate such discussions. We do believe that a stipulation staying
all proceedings (without withdraw of prior filings) will adequately facilitate such discussions, but we have also drafted
the attached for your consideration. Please let me know if we can agree to a general stay of all proceedings, or if the
attached proposed documents will be necessary to fully satisfy the interests of the parties. We are happy to arrange a
meet and confer to discuss further.

Regards,

Geoff


Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn
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   Case 1:21-cv-01456-GBW   Document 215       Filed 05/29/23   Page 3 of 84 PageID #: 7329


Buchanan Ingersoll & Rooney PC




                                           2
    Case 1:21-cv-01456-GBW                  Document 215             Filed 05/29/23     Page 4 of 84 PageID #: 7330



From: Akiva Cohen <acohen@kusklaw.com>
Sent: Thursday, December 1, 2022 4:49 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Cc: Levine, James H.S. <James.Levine@Troutman.com>; Mike Dunford <mdunford@kusklaw.com>; Kathryn Tewson
<ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
Subject: FW: Distribution of funds

[This Email Originated From acohen@kusklaw.com Which Is External To The Firm]

Geoff,

This type of harassing insanity is not going to move the ball forward. Neither is filing a frankly sanctionable new motion
by letter, without meet and confer, asking for affirmative TRO relief that had never previously been requested, on the
basis of a payment that the Court specifically refused to enjoin.

What in the world are you guys thinking?

You can let Earl know that Deirdre now has his email blocked and should not bother with further communications. I
understand your desire to lean on the 1 of the 3 CBV principals apparently still on board with your firm’s litigation
strategy, but this is ridiculous.

Be well,

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930



           From: Earl Hennenhoefer <earl@hennenhoefer.org>
           Subject: Distribution of funds
           Date: Dec 1, 2022 at 1:37 PM
           To: dleane@icloud.com


           Deirdre

           It came to my attention that you received the funds for your Arbitration Award contrary to the
           agreement in both the PPA and the RRC. This action requires CBV's pre-approval before funds would be
           distributed. As a result, our attorneys feel obligated to inform the court of this action.

           CBV has been involved in this legal action for the last seven years and has yet to receive its fair share of
           the settlement as documented in the PPA. I would like to get the matter resolved.

           Please give me your response on this matter.

           Earl Hennenhoefer
           President and CEO CBV

                                                                 3
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         EXHIBIT C
Case 1:21-cv-01456-GBW               Document 215          Filed 05/29/23        Page 7 of 84 PageID #: 7333

CBV's Settlement Proposal
Akiva Cohen <acohen@kusklaw.com>
Wed 12/7/2022 4:04 PM
To: Grivner, Geoffrey G. <geoffrey.grivner@bipc.com>;Levine, James H.S. <James.Levine@Troutman.com>
Cc: Dylan Schmeyer <dschmeyer@kusklaw.com>;Mike Dunford <mdunford@kusklaw.com>;Kathryn Tewson
<ktewson@kusklaw.com>;Deborah Gaynor <dgaynor@kusklaw.com>
Geoff,

Deirdre passed along that Dick and Bob’s opening proposal was that she pay them $7,000,000 to settle, which has
me concerned that either you are not providing them with the information they need to make settlement
discussions potentially fruitful, or that they are not understanding that information. Let’s walk through it.

We conveyed to you that Deirdre was open to a discussion of nuisance value – essentially a cost of defense type
settlement. We took your response to indicate that your clients understood that. Clearly they do not (and their
email started by explaining that they don’t consider her a nuisance, which confirms that lack of understanding).
$7,000,000 is obviously not that.

In fact, $7M is only a little less than we offered at mediation before we knew the outcome of the arbitration
award. (We offered you a high-low to hedge against a total loss, with us paying you 9.5M if we won at arbitration
and came out above the line, and you paying 4.5M if we lost at arbitration). You said no then. Why in the world
would we offer anything near that amount now that we’ve already won and our risk is eliminated? That ship has
long since sailed.

As we mentioned at Dick’s deposition, you have no viable claims against Deirdre at all. But even if you did, the
maximum you could recover would be $4M and change – because the shortfall from ChanBond if we should be
below the line is about 13M and change, and 9M of that shortfall is CBV’s own responsibility; you’re the ones
who released those funds to ChanBond for its own use. So if one of us would be taking a 9M hit because those
funds are gone, it would be you.

For all these reasons, a $7M demand is not connected to reality. I truly liked Dick as a human being, and I have a
lot of respect for your clients as people. But they do not seem to grasp the position they are in, or the amount of
goodwill they burnt through by trying to zero Deirdre out. There isn’t going to be a seven-figure offer from
Deirdre, no matter how long we spend negotiating. There isn’t going to be a high six-figure offer from Deirdre, no
matter how long we spend negotiating. Talking about your clients’ ages and families isn’t going to change that. I
can’t even promise you low six-figures.

If your clients want to engage while understanding that predicate, and on the basis of that predicate, terrific, let’s
talk. Otherwise, we shouldn’t waste everyone’s time.

Please let me know.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930
Case 1:21-cv-01456-GBW   Document 215   Filed 05/29/23   Page 8 of 84 PageID #: 7334




         EXHIBIT D
Case 1:21-cv-01456-GBW                Document 215           Filed 05/29/23    Page 9 of 84 PageID #: 7335

RE: Joint Status Report?
Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Tue 12/20/2022 11:44 AM
To: Akiva Cohen <acohen@kusklaw.com>;Steve Brauerman <SBrauerman@bayardlaw.com>;Levine, James
H.S. <James.Levine@Troutman.com>;Kathryn Tewson <ktewson@kusklaw.com>;Dylan Schmeyer
<dschmeyer@kusklaw.com>;Mike Dunford <mdunford@kusklaw.com>;Kody M. Sparks
<kody.sparks@bipc.com>;Ronald Golden <rgolden@bayardlaw.com>

  1 attachments (732 KB)
December 20, 2022 Status Letter to Judge Williams (4865-5653-4341 v1).docx;


All,

Please see our proposed letter. We are still sorting things out on our end and are therefore seeking to keep the
stay in place until January 3. We will be in touch regarding the case between now and then.

Geoff

Geoffrey Grivner

500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

Buchanan Ingersoll & Rooney PC




From: Akiva Cohen <acohen@kusklaw.com>
Sent: Tuesday, December 20, 2022 2:22 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman <SBrauerman@bayardlaw.com>; Levine,
James H.S. <James.Levine@Troutman.com>; Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer
<dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>;
Ronald Golden <rgolden@bayardlaw.com>
Subject: RE: Joint Status Report?

Geoff? We’re closing in on COB

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930
   Case 1:21-cv-01456-GBW               Document 215 Filed 05/29/23             Page 10 of 84 PageID #:
                                                  7336
From: Geoffrey G. Grivner
Sent: Tuesday, December 20, 2022 9:00 AM
To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M.
Sparks; Ronald Golden
Subject: RE: Joint Status Report?

Akiva,

I expect to get you a short draft letter to the Court later this morning.

Geoff

Geoffrey Grivner

500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

Buchanan Ingersoll & Rooney PC




From: Akiva Cohen <acohen@kusklaw.com>
Sent: Monday, December 19, 2022 2:40 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman <SBrauerman@bayardlaw.com>; Levine,
James H.S. <James.Levine@Troutman.com>; Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer
<dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>;
Ronald Golden <rgolden@bayardlaw.com>
Subject: Joint Status Report?

[This Email Originated From acohen@kusklaw.com Which Is External To The Firm]

Geoff,

I have not heard anything new for a while and our joint status report is due tomorrow. Can you please circulate a
draft?

Thanks,

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930
   Case 1:21-cv-01456-GBW            Document 215 Filed 05/29/23 Page 11 of 84 PageID #:
                                                       7337
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Case 1:21-cv-01456-GBW   Document 215 Filed 05/29/23   Page 12 of 84 PageID #:
                                   7338




       EXHIBIT (
   Case 1:21-cv-01456-GBW              Document 215 Filed 05/29/23                Page 13 of 84 PageID #:
                                                 7339
RE: Joint Status Report?
Akiva Cohen <acohen@kusklaw.com>
Mon 1/2/2023 2:55 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>;Steve Brauerman <SBrauerman@bayardlaw.com>
Cc: Levine, James H.S. <James.Levine@troutman.com>;Kathryn Tewson <ktewson@kusklaw.com>;Dylan
Schmeyer <dschmeyer@kusklaw.com>;Mike Dunford <mdunford@kusklaw.com>;Kody M. Sparks
<kody.sparks@bipc.com>;Ronald Golden <rgolden@bayardlaw.com>
Geoff,

It is January 2, and we have not heard from you or your clients since the 20th. Obviously, we plan to tell the court
that there is no reason to extend the stay.

Please provide some dates in January for Bob’s deposition.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, December 20, 2022 2:58 PM
To: Steve Brauerman
Cc: Akiva Cohen; Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M. Sparks; Ronald
Golden
Subject: RE: Joint Status Report?

No worries – thanks to all.

Geoffrey Grivner

500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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From: Steve Brauerman <SBrauerman@bayardlaw.com>
Sent: Tuesday, December 20, 2022 2:58 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Levine, James H.S. <James.Levine@troutman.com>; Kathryn Tewson
<ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
   Case 1:21-cv-01456-GBW        Document 215 Filed 05/29/23 Page 14 of 84 PageID #:
                                               7340
<mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
Subject: Re: Joint Status Report?

Sorry. I obviously meant Chanbond.

Steve

Stephen B. Brauerman
Bayard, P.A.
(302) 429-4232




        On Dec 20, 2022, at 2:56 PM, Geoffrey G. Grivner <geoffrey.grivner@bipc.com> wrote:


        Not sure who Robocast is, but thanks! I will get this filed.

        Geoffrey Grivner

        500 Delaware Avenue, Suite 720
        Wilmington, DE 19801-7407
        302 552 4207 (o)
        484 431 6101 (c)
        geoffrey.grivner@bipc.com

        vCard | Bio | BIPC.com | Twitter | LinkedIn

        Buchanan Ingersoll & Rooney PC




        From: Steve Brauerman <SBrauerman@bayardlaw.com>
        Sent: Tuesday, December 20, 2022 2:48 PM
        To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
        Cc: Akiva Cohen <acohen@kusklaw.com>; Levine, James H.S. <James.Levine@troutman.com>;
        Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike
        Dunford <mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden
        <rgolden@bayardlaw.com>
        Subject: Re: Joint Status Report?

        Geoff,

          This is acceptable to Robocast.

        Thank you,

        Steve

        Stephen B. Brauerman
        Bayard, P.A.
        (302) 429-4232
Case 1:21-cv-01456-GBW          Document 215 Filed 05/29/23                Page 15 of 84 PageID #:
                                          7341




       On Dec 20, 2022, at 2:44 PM, Geoffrey G. Grivner <geoffrey.grivner@bipc.com> wrote:



       CAUTION EXTERNAL

       All,

       Please see our proposed letter. We are still sorting things out on our end and are
       therefore seeking to keep the stay in place until January 3. We will be in touch
       regarding the case between now and then.

       Geoff

       Geoffrey Grivner

       500 Delaware Avenue, Suite 720
       Wilmington, DE 19801-7407
       302 552 4207 (o)
       484 431 6101 (c)
       geoffrey.grivner@bipc.com

       vCard | Bio | BIPC.com | Twitter | LinkedIn

       Buchanan Ingersoll & Rooney PC




       From: Akiva Cohen <acohen@kusklaw.com>
       Sent: Tuesday, December 20, 2022 2:22 PM
       To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
       <SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@Troutman.com>;
       Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer
       <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kody M.
       Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
       Subject: RE: Joint Status Report?

       Geoff? We’re closing in on COB

       Akiva M. Cohen
       Kamerman Uncyk Soniker & Klein
       1700 Broadway
       New York, NY 10019
       212-400-4930

       From: Geoffrey G. Grivner
       Sent: Tuesday, December 20, 2022 9:00 AM
       To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kathryn Tewson; Dylan
Case 1:21-cv-01456-GBW       Document 215 Filed 05/29/23                                      Page 16 of 84 PageID #:
                                            7342
       Schmeyer; Mike Dunford; Kody M. Sparks; Ronald Golden
       Subject: RE: Joint Status Report?

       Akiva,

       I expect to get you a short draft letter to the Court later this morning.

       Geoff

       Geoffrey Grivner

       500 Delaware Avenue, Suite 720
       Wilmington, DE 19801-7407
       302 552 4207 (o)
       484 431 6101 (c)
       geoffrey.grivner@bipc.com

       vCard | Bio | BIPC.com | Twitter | LinkedIn

       Buchanan Ingersoll & Rooney PC




       From: Akiva Cohen <acohen@kusklaw.com>
       Sent: Monday, December 19, 2022 2:40 PM
       To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
       <SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@Troutman.com>;
       Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer
       <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kody M.
       Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
       Subject: Joint Status Report?

       [This Email Originated From acohen@kusklaw.com Which Is External To The Firm]

       Geoff,

       I have not heard anything new for a while and our joint status report is due tomorrow.
       Can you please circulate a draft?

       Thanks,

       Akiva M. Cohen
       Kamerman Uncyk Soniker & Klein
       1700 Broadway
       New York, NY 10019
       212-400-4930



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                                   7345




       EXHIBIT F
       Case 1:21-cv-01456-GBW                 Document 215 Filed 05/29/23            Page 20 of 84 PageID #:
                                                        7346

Akiva Cohen

From:                              Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent:                              Thursday, December 8, 2022 4:24 PM
To:                                Akiva Cohen
Subject:                           RE: CBV's Settlement Proposal


Akiva – can you call my cell, 484-431-6101? I will be out of pocket from about 5:30 to 8:30 due to a school concert but
can talk before or after. Thanks.

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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Buchanan Ingersoll & Rooney PC




                                                            1
         Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23                 Page 21 of 84 PageID #:
                                                      7347


From: Akiva Cohen <acohen@kusklaw.com>
Sent: Wednesday, December 7, 2022 7:04 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Levine, James H.S. <James.Levine@Troutman.com>
Cc: Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kathryn Tewson
<ktewson@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
Subject: CBV's Settlement Proposal

[This Email Originated From acohen@kusklaw.com Which Is External To The Firm]




Geoff,

Deirdre passed along that Dick and Bob’s opening proposal was that she pay them $7,000,000 to settle, which has me
concerned that either you are not providing them with the information they need to make settlement discussions
potentially fruitful, or that they are not understanding that information. Let’s walk through it.

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settlement. We took your response to indicate that your clients understood that. Clearly they do not (and their email
started by explaining that they don’t consider her a nuisance, which confirms that lack of understanding). $7,000,000 is
obviously not that.

In fact, $7M is only a little less than we offered at mediation before we knew the outcome of the arbitration award. (We
offered you a high-low to hedge against a total loss, with us paying you 9.5M if we won at arbitration and came out
above the line, and you paying 4.5M if we lost at arbitration). You said no then. Why in the world would we offer
anything near that amount now that we’ve already won and our risk is eliminated? That ship has long since sailed.

As we mentioned at Dick’s deposition, you have no viable claims against Deirdre at all. But even if you did, the maximum
you could recover would be $4M and change – because the shortfall from ChanBond if we should be below the line is
about 13M and change, and 9M of that shortfall is CBV’s own responsibility; you’re the ones who released those funds
to ChanBond for its own use. So if one of us would be taking a 9M hit because those funds are gone, it would be you.

For all these reasons, a $7M demand is not connected to reality. I truly liked Dick as a human being, and I have a lot of
respect for your clients as people. But they do not seem to grasp the position they are in, or the amount of goodwill they
burnt through by trying to zero Deirdre out. There isn’t going to be a seven-figure offer from Deirdre, no matter how
long we spend negotiating. There isn’t going to be a high six-figure offer from Deirdre, no matter how long we spend
negotiating. Talking about your clients’ ages and families isn’t going to change that. I can’t even promise you low six-
figures.

If your clients want to engage while understanding that predicate, and on the basis of that predicate, terrific, let’s talk.
Otherwise, we shouldn’t waste everyone’s time.

Please let me know.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930


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         Case 1:21-cv-01456-GBW                      Document 215 Filed 05/29/23                          Page 22 of 84 PageID #:
                                                               7348
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         Case 1:21-cv-01456-GBW               Document 215 Filed 05/29/23             Page 23 of 84 PageID #:
                                                        7349

Akiva Cohen

From:                               Akiva Cohen
Sent:                               Tuesday, December 20, 2022 10:30 AM
To:                                 Geoffrey G. Grivner; Steve Brauerman; Levine, James H.S.; Kathryn Tewson; Dylan
                                    Schmeyer; Mike Dunford; Kody M. Sparks; Ronald Golden
Subject:                            RE: Joint Status Report?


Thanks, Geoff, I’ll keep an eye out.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, December 20, 2022 9:00 AM
To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M.
Sparks; Ronald Golden
Subject: RE: Joint Status Report?

Akiva,

I expect to get you a short draft letter to the Court later this morning.

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

Buchanan Ingersoll & Rooney PC




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         Case 1:21-cv-01456-GBW                      Document 215 Filed 05/29/23                          Page 24 of 84 PageID #:
                                                               7350


From: Akiva Cohen <acohen@kusklaw.com>
Sent: Monday, December 19, 2022 2:40 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman <SBrauerman@bayardlaw.com>; Levine, James
H.S. <James.Levine@Troutman.com>; Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer
<dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>;
Ronald Golden <rgolden@bayardlaw.com>
Subject: Joint Status Report?

[This Email Originated From acohen@kusklaw.com Which Is External To The Firm]


Geoff,

I have not heard anything new for a while and our joint status report is due tomorrow. Can you please circulate a draft?

Thanks,

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930



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immediately by replying to this message, then delete the e-mail and any attachments from your system.




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                                                        7351

Akiva Cohen

From:                               Akiva Cohen
Sent:                               Tuesday, December 20, 2022 2:58 PM
To:                                 Ronald Golden; Geoffrey G. Grivner; Steve Brauerman
Cc:                                 Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M. Sparks
Subject:                            RE: Joint Status Report?


Damon won’t mind either

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Ronald Golden
Sent: Tuesday, December 20, 2022 2:57 PM
To: Geoffrey G. Grivner; Steve Brauerman
Cc: Akiva Cohen; Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M. Sparks
Subject: RE: Joint Status Report?

ChanBond**

Ronald P. Golden III
Associate
BAYARD, P.A.
Cell: +1 609-972-3577
Office: +1 302-429-4238
rgolden@bayardlaw.com




From: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent: Tuesday, December 20, 2022 2:56 PM
To: Steve Brauerman <SBrauerman@bayardlaw.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Levine, James H.S. <James.Levine@troutman.com>; Kathryn Tewson
<ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>;
Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
Subject: RE: Joint Status Report?

Not sure who Robocast is, but thanks! I will get this filed.

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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                                       7352
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         Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23               Page 27 of 84 PageID #:
                                                      7353


From: Steve Brauerman <SBrauerman@bayardlaw.com>
Sent: Tuesday, December 20, 2022 2:48 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Levine, James H.S. <James.Levine@troutman.com>; Kathryn Tewson
<ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>;
Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
Subject: Re: Joint Status Report?

Geoff,

  This is acceptable to Robocast.

Thank you,

Steve

Stephen B. Brauerman
Bayard, P.A.
(302) 429-4232




         On Dec 20, 2022, at 2:44 PM, Geoffrey G. Grivner <geoffrey.grivner@bipc.com> wrote:



         CAUTION EXTERNAL

         All,

         Please see our proposed letter. We are still sorting things out on our end and are therefore seeking to
         keep the stay in place until January 3. We will be in touch regarding the case between now and then.

         Geoff

         Geoffrey Grivner
         500 Delaware Avenue, Suite 720
         Wilmington, DE 19801-7407
         302 552 4207 (o)
         484 431 6101 (c)
         geoffrey.grivner@bipc.com

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Case 1:21-cv-01456-GBW              Document 215 Filed 05/29/23             Page 28 of 84 PageID #:
                                              7354


From: Akiva Cohen <acohen@kusklaw.com>
Sent: Tuesday, December 20, 2022 2:22 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
<SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@Troutman.com>; Kathryn Tewson
<ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden
<rgolden@bayardlaw.com>
Subject: RE: Joint Status Report?

Geoff? We’re closing in on COB

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, December 20, 2022 9:00 AM
To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford;
Kody M. Sparks; Ronald Golden
Subject: RE: Joint Status Report?

Akiva,

I expect to get you a short draft letter to the Court later this morning.

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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                                                        7355

Akiva Cohen

From:                               Akiva Cohen
Sent:                               Tuesday, December 20, 2022 2:58 PM
To:                                 Geoffrey G. Grivner; Steve Brauerman
Cc:                                 Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M. Sparks;
                                    Ronald Golden
Subject:                            RE: Joint Status Report?


Ha!

Robocast is a client whose litigation Steve and I worked together on way back when

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, December 20, 2022 2:56 PM
To: Steve Brauerman
Cc: Akiva Cohen; Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M. Sparks; Ronald Golden
Subject: RE: Joint Status Report?

Not sure who Robocast is, but thanks! I will get this filed.

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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                                                        7356

Akiva Cohen

From:                              Akiva Cohen
Sent:                              Tuesday, December 27, 2022 11:10 AM
To:                                Geoffrey G. Grivner; Steve Brauerman; Levine, James H.S.; Kathryn Tewson; Dylan
                                   Schmeyer; Mike Dunford; Kody M. Sparks; Ronald Golden
Subject:                           RE: Joint Status Report?


Just touching base given that it’s now closer to 1/3 than 12/20. Any update? Is there any reason at all to keep the stay in
place past 1/3 at this point?

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, December 20, 2022 2:44 PM
To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M.
Sparks; Ronald Golden
Subject: RE: Joint Status Report?

All,

Please see our proposed letter. We are still sorting things out on our end and are therefore seeking to keep the stay in
place until January 3. We will be in touch regarding the case between now and then.

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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                                                        7357

Akiva Cohen

From:                              Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent:                              Tuesday, January 3, 2023 12:48 PM
To:                                Levine, James H.S.; Akiva Cohen; Steve Brauerman
Cc:                                Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M. Sparks; Ronald Golden
Subject:                           RE: Joint Status Report?


Yes, I will shortly.

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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                                                      7358


From: Levine, James H.S. <James.Levine@Troutman.com>
Sent: Tuesday, January 3, 2023 12:36 PM
To: Akiva Cohen <acohen@kusklaw.com>; Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
<SBrauerman@bayardlaw.com>
Cc: Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
Subject: RE: Joint Status Report?

Geoff,

Are you planning to circulate a draft status letter?

Thanks,
James

James H. S. Levine
Partner
troutman pepper
Direct: 302.777.6536 | Internal: 807-6536 | Mobile: 302.545.9923
james.levine@troutman.com



From: Akiva Cohen <acohen@kusklaw.com>
Sent: Monday, January 2, 2023 5:55 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman <SBrauerman@bayardlaw.com>
Cc: Levine, James H.S. <James.Levine@Troutman.com>; Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer
<dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>;
Ronald Golden <rgolden@bayardlaw.com>
Subject: RE: Joint Status Report?

EXTERNAL SENDER

Geoff,

It is January 2, and we have not heard from you or your clients since the 20 th. Obviously, we plan to tell the court that
there is no reason to extend the stay.

Please provide some dates in January for Bob’s deposition.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, December 20, 2022 2:58 PM
To: Steve Brauerman
Cc: Akiva Cohen; Levine, James H.S.; Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M. Sparks; Ronald Golden
Subject: RE: Joint Status Report?

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                                                        7359

No worries – thanks to all.

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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        Case 1:21-cv-01456-GBW              Document 215 Filed 05/29/23         Page 34 of 84 PageID #:
                                                      7360


From: Steve Brauerman <SBrauerman@bayardlaw.com>
Sent: Tuesday, December 20, 2022 2:58 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Levine, James H.S. <James.Levine@troutman.com>; Kathryn Tewson
<ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>;
Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
Subject: Re: Joint Status Report?

Sorry. I obviously meant Chanbond.

Steve

Stephen B. Brauerman
Bayard, P.A.
(302) 429-4232


        On Dec 20, 2022, at 2:56 PM, Geoffrey G. Grivner <geoffrey.grivner@bipc.com> wrote:


        Not sure who Robocast is, but thanks! I will get this filed.

        Geoffrey Grivner
        500 Delaware Avenue, Suite 720
        Wilmington, DE 19801-7407
        302 552 4207 (o)
        484 431 6101 (c)
        geoffrey.grivner@bipc.com

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        Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23               Page 35 of 84 PageID #:
                                                     7361

Akiva Cohen

From:                              Ronald Golden <rgolden@bayardlaw.com>
Sent:                              Tuesday, January 3, 2023 3:22 PM
To:                                Geoffrey G. Grivner; Akiva Cohen
Cc:                                Levine, James H.S.; Steve Brauerman; Kathryn Tewson; Dylan Schmeyer; Mike Dunford;
                                   Kody M. Sparks
Subject:                           RE: Joint Status Report?


Fine by us. Thank you.

Ron

Ronald P. Golden III
Associate
BAYARD, P.A.
Cell: +1 609-972-3577
Office: +1 302-429-4238
rgolden@bayardlaw.com




From: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent: Tuesday, January 3, 2023 3:00 PM
To: Akiva Cohen <acohen@kusklaw.com>
Cc: Levine, James H.S. <James.Levine@troutman.com>; Steve Brauerman <SBrauerman@bayardlaw.com>; Kathryn
Tewson <ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
Subject: Re: Joint Status Report?

That’s fine with me. Can Steve or Ron provide sign off?




         On Jan 3, 2023, at 2:11 PM, Akiva Cohen <acohen@kusklaw.com> wrote:


         Please change “will continue their discussions” to “may continue” – given that there’s been no
         discussion for weeks I’m not comfortable reporting “will”

         Akiva M. Cohen
         Kamerman Uncyk Soniker & Klein
         1700 Broadway
         New York, NY 10019
         212-400-4930

         From: Geoffrey G. Grivner
         Sent: Tuesday, January 3, 2023 1:56 PM
         To: Levine, James H.S.; Akiva Cohen; Steve Brauerman
         Cc: Kathryn Tewson; Dylan Schmeyer; Mike Dunford; Kody M. Sparks; Ronald Golden
         Subject: RE: Joint Status Report?

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                                             7362

Our proposed letter is attached. Please let me know if I can file in this form.

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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Buchanan Ingersoll & Rooney PC




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Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23                 Page 37 of 84 PageID #:
                                             7363


From: Levine, James H.S. <James.Levine@Troutman.com>
Sent: Tuesday, January 3, 2023 12:36 PM
To: Akiva Cohen <acohen@kusklaw.com>; Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve
Brauerman <SBrauerman@bayardlaw.com>
Cc: Kathryn Tewson <ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike
Dunford <mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden
<rgolden@bayardlaw.com>
Subject: RE: Joint Status Report?

Geoff,

Are you planning to circulate a draft status letter?

Thanks,
James

James H. S. Levine
Partner
troutman pepper
Direct: 302.777.6536 | Internal: 807-6536 | Mobile: 302.545.9923
james.levine@troutman.com



From: Akiva Cohen <acohen@kusklaw.com>
Sent: Monday, January 2, 2023 5:55 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
<SBrauerman@bayardlaw.com>
Cc: Levine, James H.S. <James.Levine@Troutman.com>; Kathryn Tewson <ktewson@kusklaw.com>;
Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kody M.
Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>
Subject: RE: Joint Status Report?

EXTERNAL SENDER

Geoff,

It is January 2, and we have not heard from you or your clients since the 20 th. Obviously, we plan to tell
the court that there is no reason to extend the stay.

Please provide some dates in January for Bob’s deposition.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, December 20, 2022 2:58 PM
To: Steve Brauerman

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                                             7364


From: Steve Brauerman <SBrauerman@bayardlaw.com>
Sent: Tuesday, December 20, 2022 2:58 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Levine, James H.S. <James.Levine@troutman.com>; Kathryn
Tewson <ktewson@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Ronald Golden
<rgolden@bayardlaw.com>
Subject: Re: Joint Status Report?

Sorry. I obviously meant Chanbond.

Steve

Stephen B. Brauerman
Bayard, P.A.
(302) 429-4232


        On Dec 20, 2022, at 2:56 PM, Geoffrey G. Grivner <geoffrey.grivner@bipc.com> wrote:


        Not sure who Robocast is, but thanks! I will get this filed.

        Geoffrey Grivner
        500 Delaware Avenue, Suite 720
        Wilmington, DE 19801-7407
        302 552 4207 (o)
        484 431 6101 (c)
        geoffrey.grivner@bipc.com

        vCard | Bio | BIPC.com | Twitter | LinkedIn

        Buchanan Ingersoll & Rooney PC




                                                      5
        Case 1:21-cv-01456-GBW              Document 215 Filed 05/29/23             Page 39 of 84 PageID #:
                                                      7365

Akiva Cohen

From:                              Akiva Cohen
Sent:                              Monday, March 13, 2023 10:07 PM
To:                                Geoffrey G. Grivner
Cc:                                Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford;
                                   Dylan Schmeyer; Kathryn Tewson; Patrick Keane
Subject:                           RE: Deposition Dates?


I’ll also need to know the terms of your “confidential agreement” with ChanBond

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Monday, March 13, 2023 10:05 PM
To: Akiva Cohen
Cc: Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford; Dylan Schmeyer; Kathryn
Tewson; Patrick Keane
Subject: Re: Deposition Dates?

I will get you one first thing in the morning. Thanks.


        On Mar 13, 2023, at 9:18 PM, Akiva Cohen <acohen@kusklaw.com> wrote:


        Geoff, if you want us to even consider this, please provide a redline.

        Akiva M. Cohen
        Kamerman Uncyk Soniker & Klein
        1700 Broadway
        New York, NY 10019
        212-400-4930

        From: Geoffrey G. Grivner
        Sent: Monday, March 13, 2023 9:16 PM
        To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford;
        Dylan Schmeyer; Kathryn Tewson; Patrick Keane
        Subject: RE: Deposition Dates?

        Akiva,

        We are now in a position to discuss next steps in this case. CBV intends to amend its complaint to
        conform with the Court’s prior ruling and the current factual landscape. A copy of our proposed
        amended complaint is attached. Please confirm you are agreeable to this amendment. If that is not the

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                                             7366
case, we will need to promptly schedule a meet and confer so that we can file a motion for leave to
amend.

Pursuant to a confidential agreement, ChanBond has provided its consent to this amendment.

I look forward to your prompt response.

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

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                                            7367


From: Akiva Cohen <acohen@kusklaw.com>
Sent: Wednesday, February 15, 2023 10:49 AM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
<SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@Troutman.com>; Kody M. Sparks
<kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Kathryn Tewson
<ktewson@kusklaw.com>
Subject: RE: Deposition Dates?

Geoff, it’s been almost exactly a month since you promised me dates for Bob.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Akiva Cohen
Sent: Wednesday, January 25, 2023 7:20 AM
To: Geoffrey G. Grivner; Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike
Dunford; Dylan Schmeyer
Subject: RE: Deposition Dates?

Geoff, as soon as I have dates for Bob I can ask Deirdre about dates – we’re going to maintain the prior
order, with Bob going first – so please let me know what his availability is.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, January 17, 2023 1:32 PM
To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford;
Dylan Schmeyer
Subject: RE: Deposition Dates?

Akiva,

We intend to move forward with this case. I will get dates for Bob and ask that you also provide
available dates for Deirdre.

Thanks,

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
                                                    3
Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23   Page 42 of 84 PageID #:
                                             7368
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

Buchanan Ingersoll & Rooney PC




                                               4
         Case 1:21-cv-01456-GBW                       Document 215 Filed 05/29/23                            Page 43 of 84 PageID #:
                                                                7369


          From: Akiva Cohen <acohen@kusklaw.com>
          Sent: Monday, January 16, 2023 10:22 AM
          To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
          <SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@Troutman.com>; Kody M. Sparks
          <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>; Mike Dunford
          <mdunford@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>
          Subject: Deposition Dates?

          [This Email Originated From acohen@kusklaw.com Which Is External To The Firm]

          Geoff,

          I have not heard back from you in response to my request that we reschedule the deposition of your
          client. Is this case moving forward or do your clients intend to withdraw it?

          Akiva M. Cohen
          Kamerman Uncyk Soniker & Klein
          1700 Broadway
          New York, NY 10019
          212-400-4930



          <image001.png>
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          <1A52005DEB7A49AC8C0AE3273005046B.png>
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immediately by replying to this message, then delete the e-mail and any attachments from your system.




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                                   7370




       EXHIBIT G
Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23                Page 45 of 84 PageID #:
                                             7371



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  CBV, INC.,                                            )
                                                        )
                     Plaintiff,                         )
          v.                                            )    C.A. No. 1:21-cv-01456-MN
                                                        )
   CHANBOND, LLC, DEIRDRE LEANE,                        )    Leane Defendants’ Second Set of
   and IPNAV, LLC,                                      )    Requests for Production
                                                        )    to Plaintiff CBV, Inc.
                     Defendants.                        )


                    DEFENDANTS DEIRDRE LEANE AND IPNAV, LLC’S
         FIRST SET OF REQUESTS FOR PRODUCTION TO PLAINTIFF CBV, INC.

         Pursuant to Fed. Rule Civ. P. 34(b), Defendants Deirdre Leane and IPNAV, LLC, hereby request

that Plaintiff CBV, Inc. produce the following documents for inspection and copying (or that it produce a

copy set of the documents) at the offices of Kamerman, Uncyk, Soniker, & Klein, P.C., 1700 Broadway,

New York, NY 10019, in accordance with the electronic discovery instructions included herein, no later

than 30 days after service of this Request for Production of Documents.

DEFINITIONS

    1.     The Definitions included in Leane Defendants’ First Set of Requests for Production to Plaintiff

CBV, Inc. (the “1st RFPs”) are incorporated herein by reference.

INSTRUCTIONS

    1.     The Instructions included in the 1st RFPs are incorporated herein by reference.

REQUESTS

REQUEST FOR PRODUCTION NO. 21.

         A copy of the “confidential agreement” referenced in Geoff Grivner’s email of March 13,

2023 seeking Leane Defendants’ consent to CBV filing a proposed amended complaint.
Case 1:21-cv-01456-GBW           Document 215 Filed 05/29/23             Page 46 of 84 PageID #:
                                           7372



REQUEST FOR PRODUCTION NO. 22.

       All DOCUMENTS RELATING TO the “confidential agreement” referenced in Geoff

Grivner’s email of March 13, 2023 seeking Leane Defendants’ consent to CBV filing a proposed

amended complaint, including but not limited to any COMMUNICATIONS relating to its

purpose, negotiation, drafting, existence, modification, enforceability, and interpretation.



 OF COUNSEL:                                          /s/ James H. S. Levine
                                                  James H. S. Levine (DE No. 5355)
 Akiva M. Cohen                                   TROUTMAN PEPPER
 Dylan M. Schmeyer                                        HAMILTON SANDERS LLP
 KAMERMAN, UNCYK,                                 Hercules Plaza, Suite 5100
        SONIKER & KLEIN P.C,                      1313 N. Market Street
 1700 Broadway, 16th Floor                        P.O. Box 1709
 New York, NY 10019                               Wilmington, DE 19899-1709
 212.400.4930                                     302.777.6500
 acohen@kusklaw.com                               james.levine@troutman.com
 dschmeyer@kusklaw.com
                                                  Attorneys for IPNAV, LLC and Deirdre Leane
 Dated: March 14, 2023




                                                 2
Case 1:21-cv-01456-GBW   Document 215 Filed 05/29/23   Page 47 of 84 PageID #:
                                   7373




       EXHIBIT H
         Case 1:21-cv-01456-GBW               Document 215 Filed 05/29/23            Page 48 of 84 PageID #:
                                                        7374

Akiva Cohen

From:                              Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent:                              Monday, April 10, 2023 9:12 AM
To:                                Akiva Cohen
Subject:                           RE: Deposition Dates?


Akiva,

I am not able to provide the documents related to settlement at this time. In light of this, we would like to move forward
with a short meet and confer so that we can file our motion for leave to amend. Are you and James available later today
or tomorrow for that call?

Thanks,

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

Buchanan Ingersoll & Rooney PC




                                                            1
         Case 1:21-cv-01456-GBW               Document 215 Filed 05/29/23            Page 49 of 84 PageID #:
                                                        7375


From: Akiva Cohen <acohen@kusklaw.com>
Sent: Tuesday, March 14, 2023 5:09 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Cc: Steve Brauerman <SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@troutman.com>; Kody M.
Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>; Mike Dunford <mdunford@kusklaw.com>;
Dylan Schmeyer <dschmeyer@kusklaw.com>; Kathryn Tewson <ktewson@kusklaw.com>; Patrick Keane
<patrick.keane@bipc.com>
Subject: RE: Deposition Dates?


Thank you. I need to know the terms of the “confidential agreement” to assess whether we will agree to allow the
amendment, since it may impact the viability of the claims alleged in the proposed amendment. Would you like to share
it with me now, or do you prefer to wait until you are required to produce it in response to our just-served discovery
requests?

Separately, are you willing to agree that this will be your final amendment absent good cause (i.e. discovery of new facts
supporting new claims)? While there’s prejudice to needing to reopen discovery and redepose witnesses to address new
claims, especially given what I assume is Earl’s lengthy unavailability after the surgery you previously informed us would
happen after his deposition, I would probably be inclined to consent if you agreed to that.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, March 14, 2023 4:50 PM
To: Akiva Cohen
Cc: Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford; Dylan Schmeyer; Kathryn
Tewson; Patrick Keane
Subject: RE: Deposition Dates?

Akiva,

My apologies. The redline is attached. There was a formatting issue with the counts and we have now resolved that.

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

Buchanan Ingersoll & Rooney PC



                                                            2
       Case 1:21-cv-01456-GBW               Document 215 Filed 05/29/23                Page 50 of 84 PageID #:
                                                      7376


From: Akiva Cohen <acohen@kusklaw.com>
Sent: Tuesday, March 14, 2023 9:51 AM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Cc: Steve Brauerman <SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@troutman.com>; Kody M.
Sparks <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>; Mike Dunford <mdunford@kusklaw.com>;
Dylan Schmeyer <dschmeyer@kusklaw.com>; Kathryn Tewson <ktewson@kusklaw.com>; Patrick Keane
<patrick.keane@bipc.com>
Subject: RE: Deposition Dates?


Geoff, my redline?

Also, taking a quick look at this, the counts start with Count IV. Was that intentional? Where are I-III?

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Akiva Cohen
Sent: Monday, March 13, 2023 10:06 PM
To: Geoffrey G. Grivner
Cc: Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford; Dylan Schmeyer; Kathryn
Tewson; Patrick Keane
Subject: RE: Deposition Dates?

I’ll also need to know the terms of your “confidential agreement” with ChanBond

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Monday, March 13, 2023 10:05 PM
To: Akiva Cohen
Cc: Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford; Dylan Schmeyer; Kathryn
Tewson; Patrick Keane
Subject: Re: Deposition Dates?

I will get you one first thing in the morning. Thanks.


        On Mar 13, 2023, at 9:18 PM, Akiva Cohen <acohen@kusklaw.com> wrote:


        Geoff, if you want us to even consider this, please provide a redline.

                                                              3
Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23            Page 51 of 84 PageID #:
                                             7377
Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Monday, March 13, 2023 9:16 PM
To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford;
Dylan Schmeyer; Kathryn Tewson; Patrick Keane
Subject: RE: Deposition Dates?

Akiva,

We are now in a position to discuss next steps in this case. CBV intends to amend its complaint to
conform with the Court’s prior ruling and the current factual landscape. A copy of our proposed
amended complaint is attached. Please confirm you are agreeable to this amendment. If that is not the
case, we will need to promptly schedule a meet and confer so that we can file a motion for leave to
amend.

Pursuant to a confidential agreement, ChanBond has provided its consent to this amendment.

I look forward to your prompt response.

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

Buchanan Ingersoll & Rooney PC




                                                  4
Case 1:21-cv-01456-GBW            Document 215 Filed 05/29/23                Page 52 of 84 PageID #:
                                            7378


From: Akiva Cohen <acohen@kusklaw.com>
Sent: Wednesday, February 15, 2023 10:49 AM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
<SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@Troutman.com>; Kody M. Sparks
<kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Kathryn Tewson
<ktewson@kusklaw.com>
Subject: RE: Deposition Dates?

Geoff, it’s been almost exactly a month since you promised me dates for Bob.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Akiva Cohen
Sent: Wednesday, January 25, 2023 7:20 AM
To: Geoffrey G. Grivner; Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike
Dunford; Dylan Schmeyer
Subject: RE: Deposition Dates?

Geoff, as soon as I have dates for Bob I can ask Deirdre about dates – we’re going to maintain the prior
order, with Bob going first – so please let me know what his availability is.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Tuesday, January 17, 2023 1:32 PM
To: Akiva Cohen; Steve Brauerman; Levine, James H.S.; Kody M. Sparks; Ronald Golden; Mike Dunford;
Dylan Schmeyer
Subject: RE: Deposition Dates?

Akiva,

We intend to move forward with this case. I will get dates for Bob and ask that you also provide
available dates for Deirdre.

Thanks,

Geoff

Geoffrey Grivner
500 Delaware Avenue, Suite 720
                                                    5
Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23   Page 53 of 84 PageID #:
                                             7379
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

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                                               6
         Case 1:21-cv-01456-GBW                       Document 215 Filed 05/29/23                            Page 54 of 84 PageID #:
                                                                7380


          From: Akiva Cohen <acohen@kusklaw.com>
          Sent: Monday, January 16, 2023 10:22 AM
          To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Steve Brauerman
          <SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@Troutman.com>; Kody M. Sparks
          <kody.sparks@bipc.com>; Ronald Golden <rgolden@bayardlaw.com>; Mike Dunford
          <mdunford@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>
          Subject: Deposition Dates?

          [This Email Originated From acohen@kusklaw.com Which Is External To The Firm]

          Geoff,

          I have not heard back from you in response to my request that we reschedule the deposition of your
          client. Is this case moving forward or do your clients intend to withdraw it?

          Akiva M. Cohen
          Kamerman Uncyk Soniker & Klein
          1700 Broadway
          New York, NY 10019
          212-400-4930



          <image001.png>
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                                                               7381



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Case 1:21-cv-01456-GBW   Document 215 Filed 05/29/23   Page 56 of 84 PageID #:
                                   7382




       EXHIBIT I
   Case 1:21-cv-01456-GBW                  Document 215 Filed 05/29/23         Page 57 of 84 PageID #:
                                                     7383
RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond
Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Thu 4/13/2023 1:44 PM
To: Kathryn Tewson <ktewson@kusklaw.com>;Kody M. Sparks <kody.sparks@bipc.com>;Steve Brauerman
<SBrauerman@bayardlaw.com>;Ronald Golden <rgolden@bayardlaw.com>;Patrick Keane
<patrick.keane@bipc.com>;Levine, James H.S. <James.Levine@Troutman.com>
Cc: Akiva Cohen <acohen@kusklaw.com>;Dylan Schmeyer <dschmeyer@kusklaw.com>;Mike Dunford
<mdunford@kusklaw.com>;Kat Farley <kfarley@kusklaw.com>;Deborah Gaynor <dgaynor@kusklaw.com>

  1 attachments (128 KB)
Plaintiff's Responses to Defendants Request for Production.pdf;


Counsel,

Please see attached Plaintiff’s Responses and Objections to Leane Defendants’ Second Set of Requests for
Production of Documents.

Geoff

Geoffrey Grivner

500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
geoffrey.grivner@bipc.com

vCard | Bio | BIPC.com | Twitter | LinkedIn

Buchanan Ingersoll & Rooney PC




From: Kathryn Tewson <ktewson@kusklaw.com>
Sent: Tuesday, March 14, 2023 1:24 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Kody M. Sparks <kody.sparks@bipc.com>; Steve Brauerman
<SBrauerman@bayardlaw.com>; Ronald Golden <rgolden@bayardlaw.com>; Patrick Keane
<patrick.keane@bipc.com>; Levine, James H.S. <James.Levine@Troutman.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
Subject: Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond

All,

The previously-served discovery requests were inadvertently served without Delaware counsel's signature.
Attached please find the same documents over Delaware counsel's signature; please disregard the previous
documents.

Kathryn Tewson, Paralegal
   Case 1:21-cv-01456-GBW          Document 215 Filed 05/29/23                                          Page 58 of 84 PageID #:
Kamerman, Uncyk, Soniker & Klein P.C.        7384
206-940-3701

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and take the steps necessary to delete the message completely from your computer system. Thank you.

From: Kathryn Tewson
Sent: Tuesday, March 14, 2023 9:48 AM
To: Grivner, Geoffrey G. <geoffrey.grivner@bipc.com>; Sparks, Kody M. <kody.sparks@bipc.com>; Steve
Brauerman <SBrauerman@bayardlaw.com>; Ronald Golden <rgolden@bayardlaw.com>; patrick.keane@bipc.com
<patrick.keane@bipc.com>; Levine, James H.S. <James.Levine@Troutman.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
Subject: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond

All,

Attached please find Leane Defendants' Second Set of Requests for Production to Plaintiff CBV, Inc. and Leane
Defendants' Second Set of Requests for Production to Defendant ChanBond, LLC. Please confirm receipt.

Best wishes,

Kathryn Tewson, Paralegal
Kamerman, Uncyk, Soniker & Klein P.C.
206-940-3701

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Case 1:21-cv-01456-GBW          Document 215 Filed 05/29/23              Page 59 of 84 PageID #:
                                          7385



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 CBV, INC.,

                Plaintiff/Counterclaim-
                Defendant,

        v.

 CHANBOND, LLC,
                                                      C.A. No. 1:21-cv-01456-GBW
                Defendant/Crossclaim-
                Defendant,

        and

 DEIRDRE LEANE, and IPNAV, LLC,

                Defendants/Counterclaim-
                Plaintiffs/Crossclaim-
                Plaintiffs.


 CBV, INC.’S RESPONSES AND OBJECTIONS TO DEFENDANTS DIERDRE LEANE
       AND IPNAV, LLC’S SECOND SET OF REQUESTS FOR PRODUCTION

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff CBV, Inc.

(“CBV” or “Plaintiff”), hereby responds to Defendants/Counterclaim Plaintiffs Deirdre Leane

(“Leane”) and IPNAV, LLC’s (“IPNAV” and collectively with Leane, “Defendants”) Second Set

of Requests for Production (the “Requests” and each individually a “Request”) as follows:

                                   GENERAL OBJECTIONS
       1.      Plaintiff objects to the Requests (including without limitation the definitions and

instructions) to the extent they purport to call for the disclosure of information beyond that which

is authorized or contemplated by the Federal Rules of Civil Procedure.




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        2.      Plaintiff objects to the Requests to the extent they are overbroad, unduly

burdensome, vague, unintelligible, and seek information that is neither relevant nor reasonably

calculated to lead to the discovery of admissible evidence.

        3.      Plaintiff objects to the Requests to the extent that they seek the disclosure of

information protected by the attorney-client privilege, work product doctrine, and/or any other

applicable privilege, immunity, or protection. Plaintiff will not produce otherwise responsive

documents if those documents or the contents thereof are protected by the attorney-client privilege,

the work product doctrine, or any other applicable privilege, immunity, or protection. Plaintiff’s

inadvertent disclosure of information subject to any applicable privilege, immunity, or protection

is not intended to be, and shall not operate as, waiver of any such privilege, immunity, or protection

in whole or in part.

        4.      In furnishing the responses herein, Plaintiff does not concede that any information

provided is relevant to the subject matter of, or admissible in, this litigation.

        5.      Plaintiff objects to the Requests to the extent they are vague or ambiguous and

therefore require subjective judgment on the part of Plaintiff as to what information is requested.

        6.      Plaintiff’s responses to the Requests are without waiver or limitation of its right to

object on any available evidentiary grounds to the use at trial or at any hearing of any information

or documents provided or referred to in its responses.

        7.      Plaintiff objects to the definitions contained in the Requests to the extent that they

are overbroad, unduly burdensome, vague, speculative and/or inaccurate

        8.      Plaintiff objects to the Requests to the extent that it does not include a relevant time

period, and therefore are overly broad, unduly burdensome, and unlikely to lead to the discovery

of relevant evidence.

                                                   2
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        9.       Any indication that Plaintiff will disclose information in answering any individual

Request does not mean that Plaintiff agrees to the characterization of facts or events set forth in

the specific Request.

        10.      A response indicating that responsive documents will be produced is not an

indication or a representation that any such documents exist, but rather that Plaintiff will, in

accordance with the Federal Rules of Civil Procedure and applicable Local Rules, make or cause

to be made a reasonably diligent, good faith search of the files and locations that it reasonably

believes contain documents responsive to the Requests (subject to any objections) and will produce

documents responsive to the Requests (subject to any objections) which are located therewith.

        11.      The foregoing General Objections are to be incorporated by reference into each of

the following answers.

        Subject to and without waiving the foregoing General Objections, Plaintiff responds and

objects to Defendants’ Requests as follows:

                                               REQUESTS

REQUEST FOR PRODUCTION NO. 21:

      A copy of the “confidential agreement” referenced in Geoff Grivner’s email of
March 13, 2023 seeking Leane Defendants’ consent to CBV filing a proposed amended
complaint.

        RESPONSE: Plaintiff objects to this Request to the extent it is vague, unduly burdensome and

seeks information that is neither relevant nor reasonably calculated to lead to the discovery of admissible

evidence. Plaintiff objects to this Request to the extent that it seeks documents which are subject to

confidentiality provisions requiring consent of all parties to such agreements prior to being disclosed to any

third party absent a court order.

        Subject to these general and specific objections, Plaintiff will participate in a meet and confer with

the parties to determine what documents, if any, can be produced at this time absent a court order.
                                                      3
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REQUEST FOR PRODUCTION NO. 22:

       All DOCUMENTS RELATING TO the “confidential agreement” referenced in
Geoff Grivner’s email of March 13, 2023 seeking Leane Defendants’ consent to CBV filing
a proposed amended complaint, including but not limited to any COMMUNICATIONS
relating to its purpose, negotiation, drafting, existence, modification, enforceability, and
interpretation.

        ANSWER:          Plaintiff objects to this Request to the extent it is vague, unduly burdensome and

seeks information that is neither relevant nor reasonably calculated to lead to the discovery of admissible

evidence. Plaintiff objects to this Request to the extent that it calls for the disclosure of information and/or

the identification of documents that are protected by the attorney-client privilege, work product immunity

and/or any other applicable privilege or immunity, or otherwise protected or protectable from discovery.

        Plaintiff objects to this Request to the extent that it seeks documents which are subject to

confidentiality provisions requiring consent of all parties to such agreements prior to being disclosed to a

third party absent a court order.

        Subject to these general and specific objections, Plaintiff will participate in a meet and confer with

the parties to determine what documents, if any, can be produced at this time absent a court order.



                                                   BUCHANAN, INGERSOLL & ROONEY PC

Dated: April 13, 2023                              /s/ Geoffrey Grivner
                                                   Geoffrey G. Grivner (#4711)
                                                   Kody M. Sparks (#6464)
                                                   500 Delaware Avenue, Suite 720
                                                   Wilmington, DE 19801-3036
                                                   (302) 552-4200
                                                   geoffrey.grivner@bipc.com
                                                   kody.sparks@bipc.com

                                                   *        *       *

                                                   Patrick C. Keane, Esq.
                                                   BUCHANAN, INGERSOLL & ROONEY PC
                                                   1737 King Street, Suite 500
                                                   Alexandria, VA 22314-2727
                                                       4
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                                   7389



                                  (703) 836-6620
                                  patrick.keane@bipc.com

                                  Attorneys for Plaintiff




                                     5
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       EXHIBIT J
         Case 1:21-cv-01456-GBW             Document 215 Filed 05/29/23               Page 65 of 84 PageID #:
                                                      7391

Akiva Cohen

From:                              Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent:                              Monday, April 17, 2023 8:27 PM
To:                                Akiva Cohen
Subject:                           Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond


Akiva,

Just wanted to let you know that I am not ignoring. Trying to coordinate people on my side and will be back asap.

Geoff



         On Apr 16, 2023, at 10:16 PM, Akiva Cohen <acohen@kusklaw.com> wrote:


         Geoff, Steve,

         Please let us know your availability, as if you each stand on your objections we will need to have our
         motions to compel filed this week.

         In addition, given the black letter rule discussed in Sonnino v. Univ. Kansas Hosp. Auth., 220 F.R.D. 633,
         642 (D. Kan.), on reconsideration in part sub nom. Sonnino v. Univ. of Kansas Hosp. Auth., 221 F.R.D. 661
         (D. Kan. 2004) (“It is well settled that a concern for protecting confidentiality does not equate to
         privilege, and that information and documents are not shielded from discovery on the sole basis that the
         they are confidential”), please be prepared to discuss any basis you would have to contest the
         imposition of Section 1927 sanctions should you force us to make a motion to compel.

         Best,

         Akiva



         Sent from my T-Mobile 5G Device
         Get Outlook for Android

         From: Akiva Cohen <acohen@kusklaw.com>
         Sent: Thursday, April 13, 2023 9:05:53 PM
         To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Kathryn Tewson <ktewson@kusklaw.com>; Kody
         M. Sparks <kody.sparks@bipc.com>; Steve Brauerman <SBrauerman@bayardlaw.com>; Ronald Golden
         <rgolden@bayardlaw.com>; Patrick Keane <patrick.keane@bipc.com>; Levine, James H.S.
         <james.levine@troutman.com>
         Cc: Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kat Farley
         <kfarley@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
         Subject: Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond

         Your objections don't actually set out a basis to withhold the requested documents other than privilege,
         which obviously doesn't apply to the agreement itself. You have also objected on the basis of privilege
                                                             1
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                                            7392
to I assume at least some of the underlying documents related to the agreement but have not provided
a privilege log.

Please immediately provide us with:

1) the basis on which you are withholding the agreement itself;

2) a date by which we can expect to receive a detailed privilege log for anything withheld on the basis of
privilege; and

3) dates and times next week at which you are available to meet and confer on the objections to
production.


Sent from my T-Mobile 5G Device
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From: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent: Thursday, April 13, 2023 4:43:51 PM
To: Kathryn Tewson <ktewson@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Steve
Brauerman <SBrauerman@bayardlaw.com>; Ronald Golden <rgolden@bayardlaw.com>; Patrick Keane
<patrick.keane@bipc.com>; Levine, James H.S. <James.Levine@Troutman.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah Gaynor
<dgaynor@kusklaw.com>
Subject: RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond


Counsel,



Please see attached Plaintiff’s Responses and Objections to Leane Defendants’ Second Set of Requests
for Production of Documents.



Geoff



Geoffrey Grivner



500 Delaware Avenue, Suite 720

Wilmington, DE 19801-7407

302 552 4207 (o)

484 431 6101 (c)

                                                    2
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                                             7393
geoffrey.grivner@bipc.com



vCard | Bio | BIPC.com | Twitter | LinkedIn



Buchanan Ingersoll & Rooney PC




                                               3
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                                              7394




From: Kathryn Tewson <ktewson@kusklaw.com>
Sent: Tuesday, March 14, 2023 1:24 PM
To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Kody M. Sparks <kody.sparks@bipc.com>; Steve
Brauerman <SBrauerman@bayardlaw.com>; Ronald Golden <rgolden@bayardlaw.com>; Patrick Keane
<patrick.keane@bipc.com>; Levine, James H.S. <James.Levine@Troutman.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah Gaynor
<dgaynor@kusklaw.com>
Subject: Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond




All,



The previously-served discovery requests were inadvertently served without Delaware counsel's
signature. Attached please find the same documents over Delaware counsel's signature; please
disregard the previous documents.



Kathryn Tewson, Paralegal

Kamerman, Uncyk, Soniker & Klein P.C.

206-940-3701



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From: Kathryn Tewson
Sent: Tuesday, March 14, 2023 9:48 AM
To: Grivner, Geoffrey G. <geoffrey.grivner@bipc.com>; Sparks, Kody M. <kody.sparks@bipc.com>; Steve
                                                       4
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                                                      7395
Brauerman <SBrauerman@bayardlaw.com>; Ronald Golden <rgolden@bayardlaw.com>;
patrick.keane@bipc.com <patrick.keane@bipc.com>; Levine, James H.S.
<James.Levine@Troutman.com>
Cc: Akiva Cohen <acohen@kusklaw.com>; Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
<mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah Gaynor
<dgaynor@kusklaw.com>
Subject: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond



All,



Attached please find Leane Defendants' Second Set of Requests for Production to Plaintiff CBV, Inc. and
Leane Defendants' Second Set of Requests for Production to Defendant ChanBond, LLC. Please confirm
receipt.



Best wishes,



Kathryn Tewson, Paralegal

Kamerman, Uncyk, Soniker & Klein P.C.

206-940-3701



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                                                               7396
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                                   7397




       EXHIBIT K
         Case 1:21-cv-01456-GBW          Document 215 Filed 05/29/23               Page 72 of 84 PageID #:
                                                   7398

Akiva Cohen

From:                            Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
Sent:                            Saturday, April 29, 2023 9:01 AM
To:                              Akiva Cohen; Steve B. Brauerman; Levine, James H.S.
Cc:                              Kathryn Tewson; Kody M. Sparks; Ronald P. Golden III; Patrick Keane; Dylan Schmeyer;
                                 Mike Dunford; Kat Farley; Deborah Gaynor
Subject:                         RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond
Attachments:                     CBV - production -.pdf


Akiva,

Further to our meet and confer on Monday April 24, 2023, CBV (with ChanBond’s approval) hereby agrees to provide the
attached unredacted, executed agreements between CBV and ChanBond, bates stamped and designated Restricted-
Confidential, in response to Leane Defendants’ document requests and pursuant the Protective Order in this Action.

CBV and ChanBond will not be providing anything further in response to your document requests, on the basis that any
additional documents that may exist and that may be responsive to your requests, are not relevant nor reasonably
calculated to lead to the discovery of admissible evidence.

As discussed at the meet and confer, in the interest of the parties’ cooperation and as a fair, like-kind exchange of
documents on this point of settlement agreements, CBV expects to promptly receive from you by return email the
executed version(s) of any of your clients’ settlement agreement(s) with ChanBond. Such documents are responsive to
CBV’s previously served Second Set of Requests for Production of Documents No. 5, to which you certainly recognize an
ongoing duty of production applies.

Amended Complaint:
Disclosure of the attached agreements is pursuant an effort to avoid wasteful and unnecessary motions practice with
regard to CBV’s proposed Second Amended Complaint. The attached Settlement Agreement is sufficient for you to
provide your clients’ position with respect to not opposing CBV’s Second Amended Complaint.

The current, attached copy of CBV’s proposed Second Amended Complaint was previously provided to you and was
discussed at the meet and confer earlier this week. Pursuant CBV’s prior request as raised again during the meet and
confer, please confirm by the close of business on Tuesday, May 2, 2023 your clients’ position as to whether a motion
for leave to amend on behalf of CBV will be necessary.

We consider our meet and confer obligations with respect to the proposed Second Amended Complaint to be satisfied,
and will file a motion for leave if we do not hear from you by Tuesday, May 2.

Regards,

Geoff


Geoffrey Grivner
Shareholder

500 Delaware Avenue, Suite 720
Wilmington, DE 19801-7407
302 552 4207 (o)
484 431 6101 (c)
                                                          1
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                                                        7399
geoffrey.grivner@bipc.com

Buchanan
vCard | Bio | BIPC.com | Twitter | LinkedIn




                                                          2
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                                                    7400


From: Akiva Cohen <acohen@kusklaw.com>
Sent: Monday, April 24, 2023 12:48 PM
To: Steve B. Brauerman <SBrauerman@bayardlaw.com>; Levine, James H.S. <James.Levine@troutman.com>
Cc: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Kathryn Tewson <ktewson@kusklaw.com>; Kody M. Sparks
<kody.sparks@bipc.com>; Ronald P. Golden III <rgolden@bayardlaw.com>; Patrick Keane <patrick.keane@bipc.com>;
Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kat Farley
<kfarley@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
Subject: RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond



Let’s lock it in for 9:30, then.



As Kathryn is on vacation, can someone please circulate a calendar invite?



Akiva M. Cohen

Kamerman Uncyk Soniker & Klein

1700 Broadway

New York, NY 10019

212-400-4930




From: Steve B. Brauerman
Sent: Monday, April 24, 2023 12:42 PM
To: Levine, James H.S.
Cc: Akiva Cohen; Geoffrey G. Grivner; Kathryn Tewson; Kody M. Sparks; Ronald P. Golden III; Patrick Keane; Dylan
Schmeyer; Mike Dunford; Kat Farley; Deborah Gaynor
Subject: Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond



I can speak tomorrow morning as well.



Steve

Stephen B. Brauerman

Bayard, P.A.
                                                            3
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                                                                                                                                                                                                                                                                                     7401
(302) 429-4232



       On Apr 24, 2023, at 12:40 PM, Levine, James H.S. <James.Levine@troutman.com> wrote:



       I can do tomorrow but have a hard stop at 10:30 for a hearing.




       James H.S. Levine
       Partner
       troutman pepper
       Direct: 302.777.6536 | Mobile: 302.545.9923
       james.levine@troutman.com

       □∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙□-




       On April 24, 2023 at 12:37:53 PM EDT, Akiva Cohen <acohen@kusklaw.com> wrote:
       James? Steve? Akiva M. Cohen Ka merma n Un cyk Soniker & Klein 170 0 Broa dway New York, NY 1 0019 2 12-400 -493 0 From: Akiva Co hen Sent: Mon day, April 24, 202 3 12: 3 7 PM To: Geo ffrey G. Grivner Cc: Steve B. Brauer man ; Levine, Ja mes H. S. ; Kathryn




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       James? Steve?

       Akiva M. Cohen
       Kamerman Uncyk Soniker & Klein
       1700 Broadway
       New York, NY 10019
       212-400-4930

       From: Akiva Cohen
       Sent: Monday, April 24, 2023 12:37 PM
       To: Geoffrey G. Grivner
       Cc: Steve B. Brauerman; Levine, James H.S.; Kathryn Tewson; Kody M. Sparks; Ronald P. Golden
       III; Patrick Keane; Dylan Schmeyer; Mike Dunford; Kat Farley; Deborah Gaynor
       Subject: RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond
                                                                                                                                                                                                                                                                                       4
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                                               7402

I can talk tomorrow morning, yes.

Akiva M. Cohen
Kamerman Uncyk Soniker & Klein
1700 Broadway
New York, NY 10019
212-400-4930

From: Geoffrey G. Grivner
Sent: Monday, April 24, 2023 12:29 PM
To: Akiva Cohen
Cc: Steve B. Brauerman; Levine, James H.S.; Kathryn Tewson; Kody M. Sparks; Ronald P. Golden
III; Patrick Keane; Dylan Schmeyer; Mike Dunford; Kat Farley; Deborah Gaynor
Subject: Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant ChanBond

Akiva,

Does tomorrow morning work for you and James?

Thanks,

Geoff

          On Apr 20, 2023, at 2:44 PM, Akiva Cohen <acohen@kusklaw.com> wrote:

          Geoff?

          Akiva M. Cohen
          Kamerman Uncyk Soniker & Klein
          1700 Broadway
          New York, NY 10019
          212-400-4930

          From: Steve B. Brauerman
          Sent: Tuesday, April 18, 2023 4:07 PM
          To: Levine, James H.S.; Akiva Cohen; Geoffrey G. Grivner; Kathryn Tewson; Kody
          M. Sparks; Ronald P. Golden III; Patrick Keane
          Cc: Dylan Schmeyer; Mike Dunford; Kat Farley; Deborah Gaynor
          Subject: RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
          ChanBond

          I can do Monday before 2:30 and the other windows of James’ availability.

          Steve

          Stephen B. Brauerman
          Director
          BAYARD, P.A.
          +1 302-429-4232
          sbrauerman@bayardlaw.com



                                                     5
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                                                                                                                                                                                                                                                                                       7403
      From: Levine, James H.S. <James.Levine@Troutman.com>
      Sent: Tuesday, April 18, 2023 1:44 PM
      To: Akiva Cohen <acohen@kusklaw.com>; Steve B. Brauerman
      <SBrauerman@bayardlaw.com>; Geoffrey G. Grivner
      <geoffrey.grivner@bipc.com>; Kathryn Tewson <ktewson@kusklaw.com>; Kody
      M. Sparks <kody.sparks@bipc.com>; Ronald P. Golden III
      <rgolden@bayardlaw.com>; Patrick Keane <patrick.keane@bipc.com>
      Cc: Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
      <mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah
      Gaynor <dgaynor@kusklaw.com>
      Subject: RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
      ChanBond

      I am available anytime Monday, before noon on Tuesday, and after 10:00
      on Wednesday.

      James H.S. Levine
      Partner
      troutman pepper
      Direct: 302.777.6536 | Mobile: 302.545.9923
      james.levine@troutman.com

      □∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙□-

      From: Akiva Cohen <acohen@kusklaw.com>
      Sent: Tuesday, April 18, 2023 1:26 PM
      To: Steve B. Brauerman <SBrauerman@bayardlaw.com>; Geoffrey G. Grivner
      <geoffrey.grivner@bipc.com>; Kathryn Tewson <ktewson@kusklaw.com>; Kody
      M. Sparks <kody.sparks@bipc.com>; Ronald P. Golden III
      <rgolden@bayardlaw.com>; Patrick Keane <patrick.keane@bipc.com>; Levine,
      James H.S. <James.Levine@Troutman.com>
      Cc: Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
      <mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah
      Gaynor <dgaynor@kusklaw.com>
      Subject: RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
      ChanBond
      Steve, Right now my con cern is that Ge off has i ndicate d he inte nds to file a motion for leave to ame nd b efore t his issu e is resolved . Given the relevan ce of the agree ment at issue to our p osition on that motion, a nd p otential respo nse, we can’t
      ZjQcmQRYFp fptBa nnerStart




                                 CAUTION: This message came from outside the firm. DO NOT click links or open attachments unless you recognize this sen
                                 (look at the actual email address) and confirm the content is safe.

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      Steve,

      Right now my concern is that Geoff has indicated he intends to file a motion for
      leave to amend before this issue is resolved. Given the relevance of the
      agreement at issue to our position on that motion, and potential response, we
      can’t be in a position where that motion is teed up and the clock is ticking but
      this one is still waiting to be discussed. If Geoff agrees to hold off on that motion
      until this issue is resolved, or to extend our time to respond until two weeks
      after this issue is resolved, there’s no urgency and I can extend you as much


                                                                                                                                                                                                                                                                                         6
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      time as you need. But if CBV intends to press forward and fast on their motion,
      this needs to move on the same schedule.

      My time next week is generally open, so any time between 10am EST and 5pm
      EST, Monday-Thursday, will work for me. James, do you have any conflicts those
      days? Geoff, when are you and your team available?

      Akiva M. Cohen
      Kamerman Uncyk Soniker & Klein
      1700 Broadway
      New York, NY 10019
      212-400-4930

      From: Steve B. Brauerman
      Sent: Tuesday, April 18, 2023 1:21 PM
      To: Akiva Cohen; Geoffrey G. Grivner; Kathryn Tewson; Kody M. Sparks; Ronald
      P. Golden III; Patrick Keane; Levine, James H.S.
      Cc: Dylan Schmeyer; Mike Dunford; Kat Farley; Deborah Gaynor
      Subject: RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
      ChanBond

      Akiva,

              I have been tied up with other matters and am preparing for multiple
      court appearances that will consume the balance of my week.

              We are aware of no emergency that would require the filing of a
      motion to compel (even if that were the appropriate procedural vehicle under
      Judge Williams’ procedures) this week.

                It appears that you have misunderstood our objections. We are happy
      to meet and confer to discuss them. Given the absence of any claims by your
      client(s) against ChanBond, the nature and pendency of the claims asserted
      against your client(s) by CBV, and the timing of your client’s discovery requests,
      we do not understand the relevance of or urgency for your requests. And, for
      reasons we are happy to discuss on a meet and confer, we believe our privilege
      objections are well-founded.

              Your threat of fees is not well taken, and counterproductive to the
      cooperative approach the parties have taken in this litigation. If, after our meet
      and confer, you believe there is a basis for a motion to compel, let alone to seek
      fees under Section 1927, we would need you to outline the complete basis for
      any such motion before we could productively respond. Although we believe
      such posturing is unnecessary and unhelpful, we do not see how non-
      precedential decisions from another district could substantiate a motion for
      fees.

      Since CBV has similar concerns, we believe a meet and confer with all parties
      would be most productive to address this potential dispute. We have good
      availability next week and invite you to suggest times that would work for you
      and CBV.

                                                   7
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                                           7405
      Thank you,

      Steve

      Stephen B. Brauerman
      Director
      BAYARD, P.A.
      +1 302-429-4232
      sbrauerman@bayardlaw.com


      From: Akiva Cohen <acohen@kusklaw.com>
      Sent: Sunday, April 16, 2023 10:16 PM
      To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Kathryn Tewson
      <ktewson@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Steve B.
      Brauerman <SBrauerman@bayardlaw.com>; Ronald P. Golden III
      <rgolden@bayardlaw.com>; Patrick Keane <patrick.keane@bipc.com>; Levine,
      James H.S. <james.levine@troutman.com>
      Cc: Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
      <mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah
      Gaynor <dgaynor@kusklaw.com>
      Subject: Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
      ChanBond


      CAUTION EXTERNAL

      Geoff, Steve,

      Please let us know your availability, as if you each stand on your objections we
      will need to have our motions to compel filed this week.

      In addition, given the black letter rule discussed in Sonnino v. Univ. Kansas Hosp.
      Auth., 220 F.R.D. 633, 642 (D. Kan.), on reconsideration in part sub nom.
      Sonnino v. Univ. of Kansas Hosp. Auth., 221 F.R.D. 661 (D. Kan. 2004) (“It is well
      settled that a concern for protecting confidentiality does not equate to
      privilege, and that information and documents are not shielded from discovery
      on the sole basis that the they are confidential”), please be prepared to discuss
      any basis you would have to contest the imposition of Section 1927 sanctions
      should you force us to make a motion to compel.

      Best,

      Akiva



      Sent from my T-Mobile 5G Device
      Get Outlook for Android
      <image001.png>
      From: Akiva Cohen <acohen@kusklaw.com>
      Sent: Thursday, April 13, 2023 9:05:53 PM
      To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Kathryn Tewson
      <ktewson@kusklaw.com>; Kody M. Sparks <kody.sparks@bipc.com>; Steve
      Brauerman <SBrauerman@bayardlaw.com>; Ronald Golden
                                                   8
Case 1:21-cv-01456-GBW          Document 215 Filed 05/29/23                Page 80 of 84 PageID #:
                                          7406
      <rgolden@bayardlaw.com>; Patrick Keane <patrick.keane@bipc.com>; Levine,
      James H.S. <james.levine@troutman.com>
      Cc: Dylan Schmeyer <dschmeyer@kusklaw.com>; Mike Dunford
      <mdunford@kusklaw.com>; Kat Farley <kfarley@kusklaw.com>; Deborah
      Gaynor <dgaynor@kusklaw.com>
      Subject: Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
      ChanBond

      Your objections don't actually set out a basis to withhold the requested
      documents other than privilege, which obviously doesn't apply to the
      agreement itself. You have also objected on the basis of privilege to I assume at
      least some of the underlying documents related to the agreement but have not
      provided a privilege log.

      Please immediately provide us with:

      1) the basis on which you are withholding the agreement itself;

      2) a date by which we can expect to receive a detailed privilege log for anything
      withheld on the basis of privilege; and

      3) dates and times next week at which you are available to meet and confer on
      the objections to production.


      Sent from my T-Mobile 5G Device
      Get Outlook for Android
      <image001.png>
      From: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>
      Sent: Thursday, April 13, 2023 4:43:51 PM
      To: Kathryn Tewson <ktewson@kusklaw.com>; Kody M. Sparks
      <kody.sparks@bipc.com>; Steve Brauerman <SBrauerman@bayardlaw.com>;
      Ronald Golden <rgolden@bayardlaw.com>; Patrick Keane
      <patrick.keane@bipc.com>; Levine, James H.S. <James.Levine@Troutman.com>
      Cc: Akiva Cohen <acohen@kusklaw.com>; Dylan Schmeyer
      <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kat
      Farley <kfarley@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
      Subject: RE: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
      ChanBond


      Counsel,



      Please see attached Plaintiff’s Responses and Objections to Leane Defendants’
      Second Set of Requests for Production of Documents.



      Geoff


                                                  9
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                                           7407


      Geoffrey Grivner



      500 Delaware Avenue, Suite 720

      Wilmington, DE 19801-7407

      302 552 4207 (o)

      484 431 6101 (c)

      geoffrey.grivner@bipc.com



      vCard | Bio | BIPC.com | Twitter | LinkedIn



      Buchanan Ingersoll & Rooney PC




                                                    10
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                                           7408




      From: Kathryn Tewson <ktewson@kusklaw.com>
      Sent: Tuesday, March 14, 2023 1:24 PM
      To: Geoffrey G. Grivner <geoffrey.grivner@bipc.com>; Kody M. Sparks
      <kody.sparks@bipc.com>; Steve Brauerman <SBrauerman@bayardlaw.com>;
      Ronald Golden <rgolden@bayardlaw.com>; Patrick Keane
      <patrick.keane@bipc.com>; Levine, James H.S. <James.Levine@Troutman.com>
      Cc: Akiva Cohen <acohen@kusklaw.com>; Dylan Schmeyer
      <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kat
      Farley <kfarley@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
      Subject: Re: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
      ChanBond




      All,



      The previously-served discovery requests were inadvertently served without
      Delaware counsel's signature. Attached please find the same documents over
      Delaware counsel's signature; please disregard the previous documents.



      Kathryn Tewson, Paralegal

      Kamerman, Uncyk, Soniker & Klein P.C.

      206-940-3701



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                                           7409
      <image001.png>

      From: Kathryn Tewson
      Sent: Tuesday, March 14, 2023 9:48 AM
      To: Grivner, Geoffrey G. <geoffrey.grivner@bipc.com>; Sparks, Kody M.
      <kody.sparks@bipc.com>; Steve Brauerman <SBrauerman@bayardlaw.com>;
      Ronald Golden <rgolden@bayardlaw.com>; patrick.keane@bipc.com
      <patrick.keane@bipc.com>; Levine, James H.S. <James.Levine@Troutman.com>
      Cc: Akiva Cohen <acohen@kusklaw.com>; Dylan Schmeyer
      <dschmeyer@kusklaw.com>; Mike Dunford <mdunford@kusklaw.com>; Kat
      Farley <kfarley@kusklaw.com>; Deborah Gaynor <dgaynor@kusklaw.com>
      Subject: Leane Defendants' Second RFPs to Plaintiff CBV and Defendant
      ChanBond



      All,



      Attached please find Leane Defendants' Second Set of Requests for Production
      to Plaintiff CBV, Inc. and Leane Defendants' Second Set of Requests for
      Production to Defendant ChanBond, LLC. Please confirm receipt.



      Best wishes,



      Kathryn Tewson, Paralegal

      Kamerman, Uncyk, Soniker & Klein P.C.

      206-940-3701



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                                                                7410
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